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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                    MDL No. 3:16-md-02738-MAS-
    TALCUM POWDER PRODUCTS                      RLS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY                      Honorable Michael A. Shipp
    LITIGATION

    ________________________________

    THIS DOCUMENT RELATES TO:

    NATHANIEL KING, SR.                         Case No. 3:19-cv-19788-MAS-
    INDIVIDUALLY and for the ESTATE             RLS
    OF EVA KING, DECEASED,

                Plaintiff,                      RESPONSE TO AUGUST 15,
                                                2024 ORDER TO SHOW
               v.                               CAUSE (DKT. 33096)

    JOHNSON & JOHNSON, and
    JOHNSON & JOHNSON CONSUMER,
    INC. f/k/a JOHNSON & JOHNSON
    CONSUMER COMPANIES, INC.,

                Defendants.



        Mark P. Robinson, Jr. of Robinson Calcagnie, Inc., and Jennifer Lenze of

  Lenze Lawyers, PLC., counsel of record for Plaintiff Annie Louise Moore, submit

  the following Response to the Court’s August 15, 2024 Order to Show Cause Why

  Cases on the Attached Exhibit A Should Not Be Dismissed With Prejudice (Dkt.

  33096).



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        On November 2, 2019, a Short Form Complaint was directly filed on behalf

  of Plaintiff Annie Louise Moore in MDL No. 2738. Pursuant to the September 1,

  2023 Amended Plaintiff’s Profile Form (“PPF”) Order, a Plaintiff Profile Form, core

  records, and signed medical records authorization were required to be served upon

  Defendants via MDL Centrality by a certain date. Counsel for Plaintiff made several

  attempts to contact Plaintiff Nathaniel King, Sr. individually and on behalf of the

  Estate of Eva King, deceased, to obtain the necessary information and

  documentation to comply with the Court’s September 1, 2023 Amended PPF Order.

  Despite multiple letters, phone calls, text messages, and emails, Plaintiff Nathaniel

  King, Sr. has not responded to Counsel’s communication attempts.

        Based on Plaintiff’s lack of communication with counsel, Jennifer Lenze of

  Lenze Lawyers, PLC. and all attorneys of record for Plaintiff filed a Motion to

  Withdraw as Counsel for Plaintiff on June 17, 2024 (Dkt. 7). The Court set the

  motion for July 15, 2024 and stated that the motion would be decided on the papers

  and no appearance would be required. As of this date, the Court has not issued a

  decision on the Motion to Withdraw as Counsel for Plaintiff. Because the Court has

  begun issuing decisions on earlier filed Motions to Withdraw in other matters setting

  deadlines for the plaintiff to either have its new counsel make an appearance or

  inform the Court that the plaintiff is proceeding pro se, Mark P. Robinson, Jr. of

  Robinson Calcagnie, Inc., Jenniferr Lenze of Lenze Lawyers, PLC. and all attorneys




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  of record for Plaintiff respectfully request that the Court not dismiss the case with

  prejudice until after the Motion to Withdraw decision is issued.


  Dated: August 30, 2024                    ROBINSON CALCAGNIE, INC.

                                            By: /s/ Mark P. Robinson, Jr.
                                            Mark P. Robinson, Jr.
                                            19 Corporate Plaza Drive
                                            Newport Beach, CA 92660
                                            (949) 720-1288
                                            mrobinson@robinsonfirm.com

                                            Counsel for Plaintiff

                                            LENZE LAWYERS, PLC.

                                            By: /s/ Jennifer Lenze
                                            Jennifer Lenze
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                                            Counsel for Plaintiff




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